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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS



 CARMEN LEE HURSEY,                       )
                                          )
       Plaintiff,                         )
                                          )
 vs.                                      )    Case Number: 17-cv-0096-MJR-RJD
                                          )
 EXPERIAN INFORMATION                     )
 SOLUTIONS, INC.,                         )
                                          )
                                          )
       Defendant.                         )


                            JUDGMENT IN A CIVIL ACTION


       Pursuant to the Order dated July 10 2017, reflecting the parties’ settlement and

 the Joint Stipulation dated September 7, 2017, this case was dismissed with prejudice.

 Each party shall bear her/its own costs, unless otherwise provided in the settlement

 documents.



 Dated: September 8, 2017



                                          JUSTINE FLANAGAN, Acting Clerk of Court
                                                s/ Reid Hermann
                                                Deputy Clerk
 Approved: s/ Michael J. Reagan
           MICHAEL J. REAGAN
           United States District Judge
